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                                    17661
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                                    17671
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                                    17673
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                                    17674
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                                    17675
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                                    17676
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                                    17680
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                                    17681
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                                    17682
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                                    17684
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                                    17686
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                                    17703
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                                    17748
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                                    17751
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                                    17752
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                                    17753
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                                    17759
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                                    17760
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                                    17761
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                                    17762
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                                    17763
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                                    17770
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                                    17771
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                                    17772
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                                    17773
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                                    17774
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                                    17775
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                                    17776
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                                    17781
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                                    17782
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                                    17783
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                                    17784
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                                    17793
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                                    17800
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                                    17801
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                                    17802
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                                    17803
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